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 6                             UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. MJ12-244
 9
                                   Plaintiff,
10

11          v.                                            DETENTION ORDER

12   MARCUS CLEVER,

13                                 Defendant.
14

15
     Offenses charged:
16
            Count 1:        Unlawful Production of Identification Document, in violation of 18
17                          U.S.C. § 2
18          Count 2:        Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A
19
            Count 3:        Social Security Fraud, in violation of 42 U.S.c. § 408(a)(7)(B)
20
     Date of Detention Hearing: May 18, 2012.
21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
22   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
23
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24
            1.      Defendant has stipulated to detention, but reserves the right to contest his
25
     continued detention if there is a change in circumstances.
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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 1
            2.     There are no conditions or combination of conditions other than detention that
 2
     will reasonably assure the appearance of defendant as required
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            IT IS THEREFORE ORDERED:
 4
            (1)    Defendant shall be detained and shall be committed to the custody of the
 5
                   Attorney General for confinement in a correction facility separate, to the extent
 6
                   practicable, from persons awaiting or serving sentences or being held in custody
 7
                   pending appeal;
 8
            (2)    Defendant shall be afforded reasonable opportunity for private consultation with
 9
                   counsel;
10
            (3)    On order of a court of the United States or on request of an attorney for the
11
                   government, the person in charge of the corrections facility in which defendant
12
                   is confined shall deliver the defendant to a United States Marshal for the
13
                   purpose of an appearance in connection with a court proceeding; and
14
            (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
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                   counsel for the defendant, to the United States Marshal, and to the United States
16
                   Pretrial Services Officer.
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            DATED this 18th day of May, 2012.
18

19                                               AJAMES P. DONOHUE
20                                                United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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